 Case: 1:20-cv-03983 Document #: 93 Filed: 03/23/22 Page 1 of 1 PageID #:1425

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Energy Intelligence Group, Inc., et al.
                                            Plaintiff,
v.                                                         Case No.: 1:20−cv−03983
                                                           Honorable Joan B. Gottschall
Constellation Energy Generation, LLC.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 23, 2022:


        MINUTE entry before the Honorable Joan B. Gottschall: Enter memorandum
opinion and order granting the motion [51] of Energy Intelligence Group, Inc., and Energy
Intelligence Group (UK) Ltd. to dismiss Constellation Energy Generation, LLC's,
counterclaims for failure to state a claim. In accordance with the order, Constellation
Energy Generation, LLC, may, if it wishes, file an amended answer on or before
4/13/2022. Mailed notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
